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B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                                District of Hawaii                                                                                 Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Ambrocio, Ruben Ulep                                                                                         Ambrocio, Judy Acoba


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-6414                                                                                                  xxx-xx-1181
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  1143 Pinkham St                                                                                             1143 Pinkham St
  Honolulu, HI                                                                                                Honolulu, HI
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         96819                                                                                         96819
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Honolulu                                                                                                     Honolulu
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information          *** Lars Peterson 8604 ***                                                                                THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                       U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 1 of 69
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B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Ambrocio, Ruben Ulep
(This page must be completed and filed in every case)                                  Ambrocio, Judy Acoba
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: HI (Debtor only)                                       14-00551                              4/23/14
Location                                                                             Case Number:                                   Date Filed:
Where Filed: See Attachment
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                     Exhibit A                                                                                 Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Lars Peterson                                September 16, 2014
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Lars Peterson 8604

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 2 of 69
                                                                                                                                                                    9/16/14 10:58AM

B1 (Official Form 1)(04/13)                                                                                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Ambrocio, Ruben Ulep
(This page must be completed and filed in every case)                                       Ambrocio, Judy Acoba
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Ruben Ulep Ambrocio                                                              X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Ruben Ulep Ambrocio

 X    /s/ Judy Acoba Ambrocio                                                                  Printed Name of Foreign Representative
     Signature of Joint Debtor Judy Acoba Ambrocio
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     September 16, 2014
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Lars Peterson
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Lars Peterson 8604                                                                       debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Office of Lars Peterson, LLLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1188 Bishop St., Ste. 3107
      Century Square                                                                           Social-Security number (If the bankrutpcy petition preparer is not
      Honolulu, HI 96813-3313                                                                  an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: lars@petersonlawhawaii.com
      (808) 469-4300 Fax: (808) 237-5849
     Telephone Number
     September 16, 2014
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                 U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 3 of 69
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In re      Ruben Ulep Ambrocio,                                         Case No.
           Judy Acoba Ambrocio
                                                                    ,
                                                     Debtors
                                    FORM 1. VOLUNTARY PETITION
                                  Prior Bankruptcy Cases Filed Attachment

        Location Where Filed                          Case Number                  Date Filed
        HI (co-debtor only)                           14-00059                     01/20/14
        HI (joint)                                    13-00103                     01/23/13




             U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 4 of 69
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     District of Hawaii
            Ruben Ulep Ambrocio
 In re      Judy Acoba Ambrocio                                                                Case No.
                                                                            Debtor(s)          Chapter    13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                     Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:         /s/ Ruben Ulep Ambrocio
                                                                                    Ruben Ulep Ambrocio
                                                       Date:         September 16, 2014




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     District of Hawaii
            Ruben Ulep Ambrocio
 In re      Judy Acoba Ambrocio                                                                Case No.
                                                                            Debtor(s)          Chapter    13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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               U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 7 of 69
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                    Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:        /s/ Judy Acoba Ambrocio
                                                                                   Judy Acoba Ambrocio
                                                       Date:         September 16, 2014




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                           District of Hawaii
  In re          Ruben Ulep Ambrocio,                                                                        Case No.
                 Judy Acoba Ambrocio
                                                                                                       ,
                                                                                      Debtors                Chapter                      13




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF          ASSETS                LIABILITIES                OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                  778,320.00


B - Personal Property                                          Yes           3                   17,710.00


C - Property Claimed as Exempt                                 Yes           1


D - Creditors Holding Secured Claims                           Yes           3                                     1,002,592.38


E - Creditors Holding Unsecured                                Yes           2                                           3,766.36
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           13                                         38,327.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           2                                                                     8,354.06
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                     7,854.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   29


                                                                       Total Assets             796,030.00


                                                                                        Total Liabilities          1,044,685.74




                   U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 9 of 69
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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                             District of Hawaii
  In re           Ruben Ulep Ambrocio,                                                                                Case No.
                  Judy Acoba Ambrocio
                                                                                                           ,
                                                                                        Debtors                       Chapter               13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                               3,766.36

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                              TOTAL                            3,766.36


              State the following:

              Average Income (from Schedule I, Line 12)                                                        8,354.06

              Average Expenses (from Schedule J, Line 22)                                                      7,854.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                         9,948.46


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                 221,272.38

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                               3,766.36

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                            38,327.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       259,599.38




                   U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 10 of Best
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B6A (Official Form 6A) (12/07)


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 In re         Ruben Ulep Ambrocio,                                                                         Case No.
               Judy Acoba Ambrocio
                                                                                                ,
                                                                             Debtors
                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                   Nature of Debtor's           Wife,     Debtor's Interest in              Amount of
               Description and Location of Property                Interest in Property         Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

personal residence located at 1143 Pinkham St,                     fee simple                       J                  778,320.00                999,592.38
Honolulu, HI 96819
Zillow valuation: $846,000
-8% cost of sale: $67,680
FMV: $778,320




                                                                                                 Sub-Total >           778,320.00          (Total of this page)

                                                                                                        Total >        778,320.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
                  U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 11 of Best
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B6B (Official Form 6B) (12/07)


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  In re         Ruben Ulep Ambrocio,                                                                               Case No.
                Judy Acoba Ambrocio
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    HawaiianTel FCU (check & svgs. accts)                           J                         100.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      HawaiiUSA FCU (check & savgs acct.)                             J                          10.00
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        household items (incl. 3 PCs, 4 TVs, furniture,                 J                       4,000.00
      including audio, video, and                             entertainment center-old, dining room set)-no item
      computer equipment.                                     in excess of $550

5.    Books, pictures and other art                           Precious moments figurines                                      J                       1,000.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        clothing                                                        J                         100.00

7.    Furs and jewelry.                                       custom jewelry, watches, rings, earrings, bracelets,            J                       1,500.00
                                                              necklaces

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                        wholelife insurance policy                                      J                         500.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                              Sub-Total >           7,210.00
                                                                                                                  (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

                  U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 12 of Best
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B6B (Official Form 6B) (12/07) - Cont.




  In re         Ruben Ulep Ambrocio,                                                                               Case No.
                Judy Acoba Ambrocio
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        401k retirment plan                                             W                       1,500.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                              Sub-Total >           1,500.00
                                                                                                                  (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property
                  U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 13 of Best
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Ruben Ulep Ambrocio,                                                                 Case No.
               Judy Acoba Ambrocio
                                                                                        ,
                                                                       Debtors
                                           SCHEDULE B - PERSONAL PROPERTY
                                                              (Continuation Sheet)

                                            N                                                              Husband,        Current Value of
               Type of Property             O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                            N                                                               Joint, or   without Deducting any
                                            E                                                             Community Secured Claim or Exemption

22. Patents, copyrights, and other          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and          2007 Mercedes C-230 (60,000 miles)                              J                      8,000.00
    other vehicles and accessories.
                                                2002 Toyota Tacoma (110,000 miles)                              J                      1,000.00

26. Boats, motors, and accessories.         X

27. Aircraft and accessories.               X

28. Office equipment, furnishings, and      X
    supplies.

29. Machinery, fixtures, equipment, and     X
    supplies used in business.

30. Inventory.                              X

31. Animals.                                X

32. Crops - growing or harvested. Give      X
    particulars.

33. Farming equipment and                   X
    implements.

34. Farm supplies, chemicals, and feed.     X

35. Other personal property of any kind     X
    not already listed. Itemize.




                                                                                                               Sub-Total >           9,000.00
                                                                                                   (Total of this page)
                                                                                                                    Total >         17,710.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                           (Report also on Summary of Schedules)
                  U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 14 of Best
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 B6C (Official Form 6C) (4/13)


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   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                         ,
                                                                                      Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                       Each Exemption                             Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Real Property
personal residence located at 1143 Pinkham St,                          11 U.S.C. § 522(d)(1)                                            0.00                   778,320.00
Honolulu, HI 96819
Zillow valuation: $846,000
-8% cost of sale: $67,680
FMV: $778,320

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
HawaiianTel FCU (check & svgs. accts)             11 U.S.C. § 522(d)(5)                                                              100.00                           100.00

HawaiiUSA FCU (check & savgs acct.)                                     11 U.S.C. § 522(d)(5)                                          10.00                            10.00

Household Goods and Furnishings
household items (incl. 3 PCs, 4 TVs, furniture,                         11 U.S.C. § 522(d)(3)                                      4,000.00                         4,000.00
entertainment center-old, dining room set)-no
item in excess of $550

Books, Pictures and Other Art Objects; Collectibles
Precious moments figurines                          11 U.S.C. § 522(d)(3)                                                          1,000.00                         1,000.00

Wearing Apparel
clothing                                                                11 U.S.C. § 522(d)(3)                                        100.00                           100.00

Furs and Jewelry
custom jewelry, watches, rings, earrings,                               11 U.S.C. § 522(d)(4)                                      1,500.00                         1,500.00
bracelets, necklaces

Interests in Insurance Policies
wholelife insurance policy                                              11 U.S.C. § 522(d)(5)                                        500.00                           500.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401k retirment plan                                 11 U.S.C. § 522(d)(12)                                                         1,500.00                         1,500.00

Automobiles, Trucks, Trailers, and Other Vehicles
2007 Mercedes C-230 (60,000 miles)                                      11 U.S.C. § 522(d)(2)                                      5,000.00                         8,000.00

2002 Toyota Tacoma (110,000 miles)                                      11 U.S.C. § 522(d)(2)                                      1,000.00                         1,000.00




                                                                                                         Total:                  14,710.00                       796,030.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
                   U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 15 of Best
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 B6D (Official Form 6D) (12/07)


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   In re         Ruben Ulep Ambrocio,                                                                                        Case No.
                 Judy Acoba Ambrocio
                                                                                                                ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                           O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                           T    I   P       WITHOUT            UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                         I    Q   U                          PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                         DEDUCTING
           AND ACCOUNT NUMBER                                O                                                           G    I   E       VALUE OF              ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                               SUBJECT TO LIEN
                                                                                                                         E    D   D     COLLATERAL
                                                                                                                         N    A
                                                                                                                         T    T
Account No. xxxxxx8195                                               Opened 9/27/07 Last Active 7/31/14                       E
                                                                                                                              D
Creditor #: 1
American Savings Bank                                              personal residence located at 1143
                                                                   Pinkham St, Honolulu, HI 96819
1600 Kapiolani Blvd Ste
                                                                   Zillow valuation: $846,000
Honolulu, HI 96814
                                                                 J -8% cost of sale: $67,680
                                                                   FMV: $778,320
                                                                        Value $                         778,320.00                        127,791.78             127,791.78
Account No.

American Savings Bank                                                   Representing:
Attn: Shyla Cockett Fukushima, Esq.                                     American Savings Bank                                            Notice Only
PO Box 2300
Honolulu, HI 96804-2300

                                                                        Value $
Account No.

Rush More LLP                                                           Representing:
Attn: Susan Tius, Esq.                                                  American Savings Bank                                            Notice Only
737 Bishop Street Suite 2400
Honolulu, HI 96813

                                                                        Value $
Account No. xxxxxxxxx4026                                            Opened 11/01/06 Last Active 11/01/10
Creditor #: 2
IndyMac Bank/OneWest Bank                                          personal residence located at 1143
                                                                   Pinkham St, Honolulu, HI 96819
Attn:Bankruptcy Department
                                                                   Zillow valuation: $846,000
2900 Esperanza Crossing
                                                                 J -8% cost of sale: $67,680
Austin, TX 78758                                                   FMV: $778,320
                                                                        Value $                         778,320.00                        871,800.60               93,480.60
                                                                                                                      Subtotal
 2
_____ continuation sheets attached                                                                                                        999,592.38             221,272.38
                                                                                                             (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                        Case No.
                 Judy Acoba Ambrocio
                                                                                                                ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                           O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                           T    I   P       WITHOUT      UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                    PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                         I    Q   U
                                                                                                                                         DEDUCTING
                                                             T   J                                                       N    U   T                       ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                         N    A
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Account No.                                                                                                                   E
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Clay Chapman Iwamura Pulice Nervell                                     Representing:
700 Bishop Street Suite 2100                                            IndyMac Bank/OneWest Bank                                        Notice Only
Honolulu, HI 96813


                                                                        Value $
Account No.

IndyMac Bank/OneWest Bank                                               Representing:
6900 Beatrice Drive                                                     IndyMac Bank/OneWest Bank                                        Notice Only
Kalamazoo, MI 49003


                                                                        Value $
Account No.

IndyMac Mortgage Services                                               Representing:
PO Box 4045                                                             IndyMac Bank/OneWest Bank                                        Notice Only
Kalamazoo, MI 49003-4045


                                                                        Value $
Account No.

Nationstar Mortgage                                                     Representing:
Attn: Customer Support Center                                           IndyMac Bank/OneWest Bank                                        Notice Only
350 Highland Drive
Lewisville, TX 75067

                                                                        Value $
Account No.

RCO Hawaii LLC                                                          Representing:
900 Fort Street Mall Suite 800                                          IndyMac Bank/OneWest Bank                                        Notice Only
Honolulu, HI 96813


                                                                        Value $
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Sheet _____    2
            of _____  continuation sheets attached to                                                                 Subtotal
                                                                                                                                                0.00             0.00
Schedule of Creditors Holding Secured Claims                                                                 (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                          Case No.
                 Judy Acoba Ambrocio
                                                                                                                  ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                             O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT      UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                      PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                             T   J                                                         N    U   T                       ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxxx1507                                               Opened 6/01/09 Last Active 8/01/14                         E
                                                                                                                                D
Creditor #: 3
Mb Fin Svcs                                                          2007 Mercedes C-230 (60,000 miles)
36455 Corporate Dr
Farmington Hills, MI 48331
                                                                 J

                                                                        Value $                             8,000.00                          3,000.00             0.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
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Sheet _____    2
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                              3,000.00             0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                          Total           1,002,592.38     221,272.38
                                                                                                (Report on Summary of Schedules)
                   U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 18 of Best
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B6E (Official Form 6E) (4/13)


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 In re         Ruben Ulep Ambrocio,                                                                                               Case No.
               Judy Acoba Ambrocio
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
                  U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 19 of Best
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 B6E (Official Form 6E) (4/13) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                         Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                          AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No. n/a                                                      2013                                                      E
                                                                                                                               D
Creditor #: 1
Department of Taxation                                               GET
State of Hawaii                                                                                                                                           0.00
Attn: Bankruptcy Unit
                                                                 J                                                        X X X
P.O. Box 259
Honolulu, HI 96809-0259
                                                                                                                                              1,480.36             1,480.36
Account No. n/a                                                      2013
Creditor #: 2
Department of Taxation                                               income tax
State of Hawaii                                                                                                                                           0.00
Attn: Bankruptcy Unit
                                                                 J                                                        X X X
P.O. Box 259
Honolulu, HI 96809-0259
                                                                                                                                                686.00               686.00
 Account No. n/a                                                     2013
Creditor #: 3
Internal Revenue Service                                             income taxes
Centralized Insolvency Operation                                                                                                                          0.00
P.O. Box 7346
                                                                 J                                                        X X X
Philadelphia, PA 19101-7346

                                                                                                                                              1,600.00             1,600.00
Account No.

Internal Revenue Service Hawaii                                         Representing:
Attn: Insolvency Mail Stop H1207                                        Internal Revenue Service                                           Notice Only
1099 Alakea Street 12th floor
Honolulu, HI 96813-4511


Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)            3,766.36             3,766.36
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)              3,766.36             3,766.36
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 B6F (Official Form 6F) (12/07)


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   In re         Ruben Ulep Ambrocio,                                                                                    Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxx0002                                                        Opened 3/01/10 Last Active 4/08/14                          T   T
                                                                                                                                                E
Creditor #: 1                                                                   Unsecured                                                       D

Aloha Pacific Fcu
832 S Hotel St                                                              J
Honolulu, HI 96813

                                                                                                                                                                            0.00
Account No. xxxxxxxx0001                                                        Opened 2/01/07 Last Active 10/12/07
Creditor #: 2                                                                   Automobile
Aloha Pacific Fcu
832 S Hotel St                                                              J
Honolulu, HI 96813

                                                                                                                                                                            0.00
Account No. xxxxxxxx0001                                                        Opened 1/01/09 Last Active 3/09/10
Creditor #: 3                                                                   Unsecured
Aloha Pacific Fcu
832 S Hotel St                                                              W
Honolulu, HI 96813

                                                                                                                                                                            0.00
Account No. xxxxxxxxx0870                                                       Opened 2/27/04 Last Active 12/16/05
Creditor #: 4                                                                   Real Estate Mortgage
Amc Mortgage Services
                                                                            J



                                                                                                                                                                            0.00

                                                                                                                                        Subtotal
 12 continuation sheets attached
_____                                                                                                                                                                       0.00
                                                                                                                              (Total of this page)




                   U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx7283                                                    Opened 5/01/05 Last Active 5/01/10                      E
Creditor #: 5                                                                   Credit Card                                             D

American Express
Po Box 3001                                                                 W
16 General Warren Blvd
Malvern, PA 19355
                                                                                                                                                              0.00
Account No.

American Express                                                                Representing:
Po Box 297871                                                                   American Express                                                     Notice Only
Fort Lauderdale, FL 33329



Account No.

Becket & Lee LLP                                                                Representing:
P.O. Box 3001                                                                   American Express                                                     Notice Only
Malvern, PA 19355



Account No. xxxxxxxxxxxx6643                                                    Opened 5/12/05 Last Active 1/01/10
Creditor #: 6                                                                   Credit Card
American Express
Po Box 3001                                                                 H
16 General Warren Blvd
Malvern, PA 19355
                                                                                                                                                              0.00
Account No.

American Express                                                                Representing:
Po Box 297871                                                                   American Express                                                     Notice Only
Fort Lauderdale, FL 33329



           1
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




                   U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 22 of Best
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxx3250                                                           Opened 11/01/06 Last Active 3/18/11                     E
Creditor #: 7                                                                   Real Estate Mortgage                                    D

Bank of America
Attn: Correspondence                                                        J
Unit/CA6-919-02-41
Po Box 5170
Simi Valley, CA 93062                                                                                                                                  Unknown
Account No.

Bank of America                                                                 Representing:
450 American St                                                                 Bank of America                                                      Notice Only
Simi Valley, CA 93065



Account No. xxxxxxxxxxxx6414                                                    Opened 7/01/03 Last Active 10/29/07
Creditor #: 8                                                                   Credit Card
Bank Of America
Attention: Recovery Department                                              W
4161 Peidmont Pkwy.
Greensboro, NC 27410
                                                                                                                                                              0.00
Account No.

Bank Of America                                                                 Representing:
Po Box 982235                                                                   Bank Of America                                                      Notice Only
El Paso, TX 79998



Account No. xxxxxxxxxxx1432                                                     Opened 11/01/11 Last Active 7/28/14
Creditor #: 9                                                                   Credit Card
Barclays Bank Delaware
125 S West St                                                               W
Wilmington, DE 19801

                                                                                                                                                        4,038.00

           2
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        4,038.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx8114                                                    Opened 1/01/03 Last Active 6/01/08                      E
Creditor #: 10                                                                  Credit Card                                             D

Cap One
26525 N Riverwoods Blvd                                                     J
Mettawa, IL 60045

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx8516                                                    Opened 9/07/05 Last Active 8/29/07
Creditor #: 11                                                                  Credit Card
Cap One
26525 N Riverwoods Blvd                                                     J
Mettawa, IL 60045

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx8512                                                    Opened 9/07/05 Last Active 11/26/07
Creditor #: 12                                                                  Credit Card
Cap One
26525 N Riverwoods Blvd                                                     J
Mettawa, IL 60045

                                                                                                                                                              0.00
Account No. xxxxxxxxxxx1293                                                     Opened 4/23/07 Last Active 10/19/07
Creditor #: 13                                                                  Charge Account
Cap1/bose
90 Christiana Road                                                          H
New Castle, DE 19720

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx0296                                                    Opened 1/01/13 Last Active 1/13/14
Creditor #: 14                                                                  Credit Card
Capital 1 Bank
Attn: General Correspondence                                                H
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                              0.00

           3
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Capital 1 Bank                                                                  Representing:
Po Box 85520                                                                    Capital 1 Bank                                                       Notice Only
Richmond, VA 23285



Account No. xxxxxx7982                                                          Opened 12/01/05 Last Active 10/06/06
Creditor #: 15                                                                  Real Estate Mortgage
Central Pacific Bank
P.o. Box 3590                                                               J
Honolulu, HI 96811

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx6547                                                    Opened 1/01/02 Last Active 10/15/07
Creditor #: 16                                                                  Credit Card
Chase - Cc
Po Box 15298                                                                J
Wilmington, DE 19850

                                                                                                                                                              0.00
Account No. xxxxxxxx0489                                                        Opened 7/19/09 Last Active 3/12/12
Creditor #: 17                                                                  Charge Account
Chase-pier1
Chase Card Svcs/Attn:Bankruptcy                                             W
Dept
Po Box 15298
Wilmington, DE 19850                                                                                                                                          0.00
Account No.

Chase-pier1                                                                     Representing:
Po Box 15298                                                                    Chase-pier1                                                          Notice Only
Wilmington, DE 19850



           4
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx3481                                                    Opened 6/01/07 Last Active 11/09/07                     E
Creditor #: 18                                                                  Credit Card                                             D

Chase-pier1
Chase Card Svcs/Attn:Bankruptcy                                             W
Dept
Po Box 15298
Wilmington, DE 19850                                                                                                                                          0.00
Account No.

Chase-pier1                                                                     Representing:
Po Box 15298                                                                    Chase-pier1                                                          Notice Only
Wilmington, DE 19850



Account No. xxxxxxxxxxxx4536                                                    Opened 9/01/11 Last Active 8/07/14
Creditor #: 19                                                                  Charge Account
Citibank Usa
Citicorp Credit                                                             W
Services/Attn:Centralize
Po Box 20363
Kansas City, MO 64195                                                                                                                                   3,795.00
Account No.

Citibank Usa                                                                    Representing:
Po Box 6497                                                                     Citibank Usa                                                         Notice Only
Sioux Falls, SD 57117



Account No. xxxxxxxxxxxx5963                                                    Opened 3/15/03 Last Active 11/22/07
Creditor #: 20                                                                  Charge Account
Citibank Usa
Citicorp Credit                                                             J
Services/Attn:Centralize
Po Box 20363
Kansas City, MO 64195                                                                                                                                         0.00

           5
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        3,795.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Citibank Usa                                                                    Representing:
Po Box 6497                                                                     Citibank Usa                                                         Notice Only
Sioux Falls, SD 57117



Account No. xxxxxxxxxxxx3639                                                    Opened 11/01/07 Last Active 3/13/08
Creditor #: 21                                                                  Unsecured
Citifinancial
605 Munn Road                                                               H
Fort Mill, SC 29715

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx4438                                                    Opened 4/01/12 Last Active 7/13/14
Creditor #: 22                                                                  Charge Account
Comenity Bank/pier 1
4590 E Broad St                                                             W
Columbus, OH 43213

                                                                                                                                                          194.00
Account No. xxxxx9168                                                           Opened 10/01/09 Last Active 3/17/10
Creditor #: 23                                                                  Charge Account
Comenity Bank/vctrssec
220 W Schrock Rd                                                            W
Westerville, OH 43081

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx7283                                                    Opened 2/19/13 Last Active 5/20/14
Creditor #: 24                                                                  Credit Card
Credit One Bank
Po Box 98873                                                                H
Las Vegas, NV 89193

                                                                                                                                                              0.00

           6
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          194.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Credit One Bank                                                                 Representing:
Po Box 98875                                                                    Credit One Bank                                                      Notice Only
Las Vegas, NV 89193



Account No. xxxxxxxxx7320                                                       Opened 12/01/02 Last Active 5/17/14
Creditor #: 25                                                                  Charge Account
Dsnb Macys
9111 Duke Blvd                                                              W
Mason, OH 45040

                                                                                                                                                        2,508.00
Account No. xxxxxxxxx7340                                                       Opened 10/01/07 Last Active 8/01/14
Creditor #: 26                                                                  Charge Account
Dsnb Macys
9111 Duke Blvd                                                              W
Mason, OH 45040

                                                                                                                                                              0.00
Account No. xxxxxxxxx9220                                                       Opened 9/06/08 Last Active 8/16/10
Creditor #: 27                                                                  Charge Account
Dsnb Macys
9111 Duke Blvd                                                              J
Mason, OH 45040

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx9164                                                    Opened 1/01/06 Last Active 10/15/07
Creditor #: 28                                                                  Unsecured
First Hawaiian Bank
Po Box 4070                                                                 W
Honolulu, HI 96812

                                                                                                                                                              0.00

           7
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        2,508.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No.                                                                                                                             E
                                                                                                                                        D

First Hawaiian Bank                                                             Representing:
Po Box 3200                                                                     First Hawaiian Bank                                                  Notice Only
Honolulu, HI 96847



Account No. xxxxxxxxxxxx2489                                                    Opened 10/28/04 Last Active 5/20/05
Creditor #: 29                                                                  Charge Account
GECRB/Care Credit
Attention: Bankruptcy                                                       H
Po Box 103104
Roswell, GA 30076
                                                                                                                                                              0.00
Account No.

GECRB/Care Credit                                                               Representing:
C/o Po Box 965036                                                               GECRB/Care Credit                                                    Notice Only
Orlando, FL 32896



Account No. xxxxxxxx0069                                                        Opened 10/01/90 Last Active 10/01/07
Creditor #: 30                                                                  Charge Account
GECRB/JC Penny
Attention: Bankruptcy                                                       J
Po Box 103104
Roswell, GA 30076
                                                                                                                                                              0.00
Account No.

GECRB/JC Penny                                                                  Representing:
4125 Windward Plaza                                                             GECRB/JC Penny                                                       Notice Only
Alpharetta, GA 30005



           8
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx8056                                                    Opened 12/31/06 Last Active 3/07/07                     E
Creditor #: 31                                                                  Credit Card                                             D

GECRB/Sams Club
Gecrb/Sams Club                                                             J
Po Box 103104
Roswell, GA 30076
                                                                                                                                                              0.00
Account No.

GECRB/Sams Club                                                                 Representing:
Po Box 965005                                                                   GECRB/Sams Club                                                      Notice Only
Orlando, FL 32896



Account No. xxxxxxxxxxxx7639                                                    Opened 12/11/06 Last Active 10/01/07
Creditor #: 32                                                                  Charge Account
GECRB/ShopNBC
Attn: Bankruptcy                                                            H
Po Box 103104
Roswell, GA 30076
                                                                                                                                                              0.00
Account No.

GECRB/ShopNBC                                                                   Representing:
Po Box 965005                                                                   GECRB/ShopNBC                                                        Notice Only
Orlando, FL 32896



Account No. xxxxxx6760                                                          Opened 4/01/00 Last Active 4/25/04
Creditor #: 33                                                                  Credit Card
Hawaiian Tel Fcu
1138 N King St                                                              J
Honolulu, HI 96817

                                                                                                                                                              0.00

           9
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx9608                                                             Opened 11/01/04 Last Active 10/12/07                    E
Creditor #: 34                                                                  Note Loan                                               D

Hawaiian Tel Fcu
1138 N King St                                                              J
Honolulu, HI 96817

                                                                                                                                                              0.00
Account No. xxx9606                                                             Opened 7/01/01 Last Active 12/27/05
Creditor #: 35                                                                  Note Loan
Hawaiian Tel Fcu
1138 N King St                                                              J
Honolulu, HI 96817

                                                                                                                                                              0.00
Account No. xxxxxxxxxxxx6821                                                    Opened 9/01/05 Last Active 5/08/14
Creditor #: 36                                                                  Credit Card
Hawaiiusa Fcu
1226 College Walk                                                           W
Honolulu, HI 96817

                                                                                                                                                      16,466.00
Account No.

Watanabe Ing LLP                                                                Representing:
999 Bishop Street 23rd Floor                                                    Hawaiiusa Fcu                                                        Notice Only
Honolulu, HI 96813



Account No. xxxxx0000                                                           Opened 6/01/04 Last Active 12/30/05
Creditor #: 37                                                                  Unsecured
Hawaiiusa Fcu
1225 College Walk                                                           J
Honolulu, HI 96817

                                                                                                                                                              0.00

           10 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                      16,466.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                Case No.
                 Judy Acoba Ambrocio
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx3128                                                    Opened 2/01/02 Last Active 3/10/04                      E
Creditor #: 38                                                                  Credit Card                                             D

Hawaiiusa Fcu
1226 College Walk                                                           J
Honolulu, HI 96817

                                                                                                                                                              0.00
Account No. xxx0900                                                             Opened 12/01/13 Last Active 5/22/14
Creditor #: 39                                                                  Credit Card
Hccredit/feb
203 E Emma Ave Ste A                                                        W
Springdale, AR 72764

                                                                                                                                                        4,165.00
Account No. xxx0890                                                             Opened 12/01/13 Last Active 5/22/14
Creditor #: 40                                                                  Credit Card
Hccredit/feb
203 E Emma Ave Ste A                                                        H
Springdale, AR 72764

                                                                                                                                                        2,073.00
Account No. xxxxxxxxxxxx0780                                                    Opened 9/01/13 Last Active 5/12/14
Creditor #: 41                                                                  Credit Card
Merrick Bk
Attn: Bankruptcy                                                            H
P.O. Box 9201
Old Bethpage, NY 11804
                                                                                                                                                          736.00
Account No.

Merrick Bk                                                                      Representing:
Po Box 9201                                                                     Merrick Bk                                                           Notice Only
Old Bethpage, NY 11804



           11 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                        6,974.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Ruben Ulep Ambrocio,                                                                                      Case No.
                 Judy Acoba Ambrocio
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxxxxxxxxxx4620                                                    Opened 5/01/10 Last Active 3/25/14                             E
Creditor #: 42                                                                  Charge Account                                                 D

Military Star
3911 S Walton Walker Blvd                                                   W
Dallas, TX 75265

                                                                                                                                                               1,131.00
Account No. xxxxxxxxxxxx3235                                                    Opened 11/01/04 Last Active 5/25/14
Creditor #: 43                                                                  Credit Card
Sears/cbna
Po Box 6282                                                                 J
Sioux Falls, SD 57117

                                                                                                                                                               3,221.00
Account No.

Capital Management Services, LP                                                 Representing:
698 1/2 S. Ogden Street                                                         Sears/cbna                                                                  Notice Only
Buffalo, NY 14206



Account No. xxxxxxxxxxxx9646                                                    Opened 9/06/08 Last Active 5/01/12
Creditor #: 44                                                                  Credit Card
Visa Dept. Stores
Attn: Bankruptcy                                                            J
Po Box 8053
Mason, OH 45040
                                                                                                                                                                     0.00
Account No.

Visa Dept. Stores                                                               Representing:
9111 Duke Blvd                                                                  Visa Dept. Stores                                                           Notice Only
Mason, OH 45040



           12 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                               4,352.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)            38,327.00


                   U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 33 of Best
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B6G (Official Form 6G) (12/07)


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  In re             Ruben Ulep Ambrocio,                                                                        Case No.
                    Judy Acoba Ambrocio
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
                     U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 34 of Best
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B6H (Official Form 6H) (12/07)


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  In re          Ruben Ulep Ambrocio,                                                                    Case No.
                 Judy Acoba Ambrocio
                                                                                               ,
                                                                             Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
                  U.S. Bankruptcy Court - Hawaii #14-01251 Dkt # 1 Filed 09/16/14 Page 35 of Best
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Fill in this information to identify your case:

Debtor 1                      Ruben Ulep Ambrocio

Debtor 2                      Judy Acoba Ambrocio
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF HAWAII

Case number                                                                                            Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing post-petition chapter
                                                                                                          13 income as of the following date:

Official Form B 6I                                                                                        MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                  Employed
                                             Employment status
       attach a separate page with
                                                                      Not employed                              Not employed
       information about additional
       employers.                            Occupation            Food runner                               customer service rep
       Include part-time, seasonal, or
                                             Employer's name       Hilton Worldwide, Inc.                    Pyramid Insurance Centre, Ltd.
       self-employed work.

       Occupation may include student        Employer's address    Memphis Shared Services
       or homemaker, if it applies.                                755 Crossover Lane                        420 Waiakamilo Rd Ste 411
                                                                   Memphis, TN 38117                         Honolulu, HI 96817

                                             How long employed there?         24 years                                6 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1        For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        3,463.22       $         3,335.24

3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00      +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      3,463.22             $   3,335.24




Official Form B 6I                                  Schedule I: Your Income                                                                      page 1
                U.S. Bankruptcy Court - Hawaii #14-01251     Dkt # 1 Filed 09/16/14 Page 36 of 69
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Debtor 1    Ruben Ulep Ambrocio
Debtor 2    Judy Acoba Ambrocio                                                                   Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      3,463.22       $         3,335.24

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        712.90       $           602.50
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $           200.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $             0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $             0.00
      5e.   Insurance                                                                      5e.        $          0.00       $             0.00
      5f.   Domestic support obligations                                                   5f.        $          0.00       $             0.00
      5g.   Union dues                                                                     5g.        $         59.00       $             0.00
      5h.   Other deductions. Specify: mandatory parking deduction                         5h.+       $         20.00 +     $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            791.90       $           802.50
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,671.32       $       2,532.74
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      3,150.00       $                0.00
      8b. Interest and dividends                                                           8b.        $          0.00       $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,150.00       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              5,821.32 + $      2,532.74 = $             8,354.06
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                        0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $           8,354.06
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                              Schedule I: Your Income                                                                                page 2
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Fill in this information to identify your case:

Debtor 1                 Ruben Ulep Ambrocio                                                                Check if this is:
                                                                                                                An amended filing
Debtor 2                 Judy Acoba Ambrocio                                                                    A supplement showing post-petition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF HAWAII                                                         MM / DD / YYYY

Case number                                                                                                          A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                        No
      dependents' names.                                                           daughter                             15                    Yes
                                                                                                                                              No
                                                                                   Daughter                             22                    Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             4,200.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                              500.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                0.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                  page 1
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Debtor 1     Ruben Ulep Ambrocio
Debtor 2     Judy Acoba Ambrocio                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    350.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                    200.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    430.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   900.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   100.00
10.   Personal care products and services                                                   10. $                                                    100.00
11.   Medical and dental expenses                                                           11. $                                                    100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                     75.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    138.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    114.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: GET for rental                                                               16. $                                                    120.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    277.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
      17c. Other. Specify:                                                                 17c. $                                                      0.00
      17d. Other. Specify:                                                                 17d. $                                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.      $                       7,854.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               8,354.06
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              7,854.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  500.06

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
        Yes.              Debtors are working on loan modification; expected mortgage payment for 1st mortgage is approx.
      Explain:            $3,200/month;




Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                       District of Hawaii
            Ruben Ulep Ambrocio
 In re      Judy Acoba Ambrocio                                                                        Case No.
                                                                                 Debtor(s)             Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      31
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date September 16, 2014                                             Signature   /s/ Ruben Ulep Ambrocio
                                                                                 Ruben Ulep Ambrocio
                                                                                 Debtor


 Date September 16, 2014                                             Signature   /s/ Judy Acoba Ambrocio
                                                                                 Judy Acoba Ambrocio
                                                                                 Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                         District of Hawaii
             Ruben Ulep Ambrocio
 In re       Judy Acoba Ambrocio                                                                               Case No.
                                                                                  Debtor(s)                    Chapter        13

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $82,650.00                            2014 YTD: both Hilton, Pyramid, rental income
                          $80,000.00                            2013: both Hilton, Pyramid, rental income
                          $80,000.00                            2012: both Hilton, Pyramid, rental income

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE


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               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                     DATES OF                                                          AMOUNT STILL
     OF CREDITOR                                                      PAYMENTS                                AMOUNT PAID                  OWING
 Mb Fin Svcs                                                          monthly car payment of                      $900.00                 $3,000.00
 36455 Corporate Dr                                                   $277
 Farmington Hills, MI 48331

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                      DATES OF                                      PAID OR
                                                                      PAYMENTS/                                   VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                         TRANSFERS                                  TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                         AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                     NATURE OF          COURT OR AGENCY                                   STATUS OR
 AND CASE NUMBER                                                     PROCEEDING         AND LOCATION                                      DISPOSITION
 OneWest Bank, FSB v. Ambrocio, American                             foreclosure        First Circuit Court
 Savings Bank, et al., Civil No. 12-1-2735-11
 HawaiiUSA FCU v. Ambrocio                                                              Honolulu District Court                           complaint
 1RC14-1-7297                                                                                                                             filed

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE                PROPERTY



  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,       DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN               PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                 TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                              AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                   OF PROPERTY
 Law Office of Lars Peterson, LLLC                                       09/2014                                     $1,600.00
 1188 Bishop St., Ste. 3107
 Century Square
 Honolulu, HI 96813-3313



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                                                                        DATE OF PAYMENT,                                    AMOUNT OF MONEY
 NAME AND ADDRESS                                                    NAME OF PAYER IF OTHER                             OR DESCRIPTION AND VALUE
    OF PAYEE                                                               THAN DEBTOR                                        OF PROPERTY
 Abacus Credit Counseling                                            09/2014                                           $25



               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                          DATE                               AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                              DATE(S) OF                  VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                     TRANSFER(S)                 IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                       TYPE OF ACCOUNT, LAST FOUR
                                                                       DIGITS OF ACCOUNT NUMBER,                        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                        DATE OF SETOFF                                     AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY



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               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                             NAME USED                                         DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                   DOCKET NUMBER                                     STATUS OR DISPOSITION




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B7 (Official Form 7) (04/13)
6
               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED




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B7 (Official Form 7) (04/13)
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               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                    NATURE OF INTEREST                                PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                    TITLE                                 OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                    TITLE                                 DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                       DATE AND PURPOSE                                  OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                              OF WITHDRAWAL                                     VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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B7 (Official Form 7) (04/13)
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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                             ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date September 16, 2014                                             Signature    /s/ Ruben Ulep Ambrocio
                                                                                  Ruben Ulep Ambrocio
                                                                                  Debtor


 Date September 16, 2014                                             Signature    /s/ Judy Acoba Ambrocio
                                                                                  Judy Acoba Ambrocio
                                                                                  Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                              United States Bankruptcy Court
                                                                     District of Hawaii
             Ruben Ulep Ambrocio
 In re       Judy Acoba Ambrocio                                                                              Case No.
                                                                              Debtor(s)                       Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,850.00
             Prior to the filing of this statement I have received                                        $                  1,600.00
             Balance Due                                                                                  $                  3,250.00

2.     $    310.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Included in the representation are all services required by the United States Bankruptcy Court District of Hawaii
                 "Rights and Responsibilities of Chapter 13 Debtors and Attorneys."
                 The Debtor(s) acknowlege(s) receipt of the document.
                 Exempion planning.
                 For post-petition stay and discharge violations, I have agreed to accept fees at $275 per hour plus 40% of the net
                 recovery.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               If services are not specifically included in the Attorney Compensation agreement, they are excluded.
               Specifically excluded (without limitation) is representation of the Debtor(s) in:
               - adversary proceeding (including dischargeability actions)
               - appeals
               - reaffirmation agreements
               - motions to revoke a discharge
               - Rule 2004 examinations
               - removal of an action pending in another court
               - obtaining title reports
               - determining real estate and tax liens
               - correcting credit reports
               - negotiations with check systems




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             Ruben Ulep Ambrocio
 In re       Judy Acoba Ambrocio                                                                     Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      September 16, 2014                                                 /s/ Lars Peterson
                                                                                Lars Peterson 8604
                                                                                Law Office of Lars Peterson, LLLC
                                                                                1188 Bishop St., Ste. 3107
                                                                                Century Square
                                                                                Honolulu, HI 96813-3313
                                                                                (808) 469-4300 Fax: (808) 237-5849
                                                                                lars@petersonlawhawaii.com




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B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF HAWAII
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                       District of Hawaii
            Ruben Ulep Ambrocio
 In re      Judy Acoba Ambrocio                                                                          Case No.
                                                                               Debtor(s)                 Chapter        13

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                     Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Ruben Ulep Ambrocio                                                                                                          September 16,
 Judy Acoba Ambrocio                                                             X /s/ Ruben Ulep Ambrocio                    2014
 Printed Name(s) of Debtor(s)                                                      Signature of Debtor                        Date

                                                                                                                              September 16,
 Case No. (if known)                                                             X /s/ Judy Acoba Ambrocio                    2014
                                                                                   Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                                       District of Hawaii
            Ruben Ulep Ambrocio
 In re      Judy Acoba Ambrocio                                                                Case No.
                                                                                Debtor(s)      Chapter      13




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: September 16, 2014                                            /s/ Ruben Ulep Ambrocio
                                                                     Ruben Ulep Ambrocio
                                                                     Signature of Debtor

 Date: September 16, 2014                                            /s/ Judy Acoba Ambrocio
                                                                     Judy Acoba Ambrocio
                                                                     Signature of Debtor




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                        Ambrocio, Ruben and Judy -


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                        Internal Revenue Service
                        Centralized Insolvency Operation
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346



                        Department of Taxation
                        State of Hawaii
                        Attn: Bankruptcy Unit
                        P.O. Box 259
                        Honolulu, HI 96809-0259



                        EXPERIAN
                        Profile Maintenance
                        PO Box 9558
                        Allen, TX 75013



                        TRANSUNION
                        Customer Relations
                        PO Box 2000
                        Chester, PA 19022



                        EQUIFAX
                        Dispute Department
                        PO Box 740243
                        Atlanta, GA 30374-0243



                        County of Maui
                        Real Property Tax Division
                        70 E Kaahumanu Ave Ste A16
                        Kahului, HI 96732-2196



                        County of Kauai
                        Real Property Tax Collection Unit
                        4444 Rice Street, Suite A-463
                        Lihue, HI 96766-1328



                        Dept Labor & Industrial Relations
                        Director's Office
                        830 Punchbowl Street, Room 321
                        Honolulu, HI 96813-5095


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                    Real Property Tax Collection Unit
                    Division of Treasury C & C Honolulu
                    530 S. King Street
                    Honolulu, HI 96813-3086



                    County of Hawaii
                    Corporation Counsel
                    101 Aupuni Street, Suite 325
                    Hilo, HI 96720



                    Aloha Pacific Fcu
                    832 S Hotel St
                    Honolulu, HI 96813



                    Amc Mortgage Services




                    American Express
                    Po Box 3001
                    16 General Warren Blvd
                    Malvern, PA 19355



                    American Express
                    Po Box 297871
                    Fort Lauderdale, FL 33329



                    American Savings Bank
                    1600 Kapiolani Blvd Ste
                    Honolulu, HI 96814



                    American Savings Bank
                    Attn: Shyla Cockett Fukushima, Esq.
                    PO Box 2300
                    Honolulu, HI 96804-2300



                    Bank of America
                    Attn: Correspondence Unit/CA6-919-02-41
                    Po Box 5170
                    Simi Valley, CA 93062

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                    Bank Of America
                    Attention: Recovery Department
                    4161 Peidmont Pkwy.
                    Greensboro, NC 27410



                    Bank of America
                    450 American St
                    Simi Valley, CA 93065



                    Bank Of America
                    Po Box 982235
                    El Paso, TX 79998



                    Barclays Bank Delaware
                    125 S West St
                    Wilmington, DE 19801



                    Becket & Lee LLP
                    P.O. Box 3001
                    Malvern, PA 19355



                    Cap One
                    26525 N Riverwoods Blvd
                    Mettawa, IL 60045



                    Cap1/bose
                    90 Christiana Road
                    New Castle, DE 19720



                    Capital 1 Bank
                    Attn: General Correspondence
                    Po Box 30285
                    Salt Lake City, UT 84130



                    Capital 1 Bank
                    Po Box 85520
                    Richmond, VA 23285



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                    Capital Management Services, LP
                    698 1/2 S. Ogden Street
                    Buffalo, NY 14206



                    Central Pacific Bank
                    P.o. Box 3590
                    Honolulu, HI 96811



                    Chase - Cc
                    Po Box 15298
                    Wilmington, DE 19850



                    Chase-pier1
                    Chase Card Svcs/Attn:Bankruptcy Dept
                    Po Box 15298
                    Wilmington, DE 19850



                    Chase-pier1
                    Po Box 15298
                    Wilmington, DE 19850



                    Citibank Usa
                    Citicorp Credit Services/Attn:Centralize
                    Po Box 20363
                    Kansas City, MO 64195



                    Citibank Usa
                    Po Box 6497
                    Sioux Falls, SD 57117



                    Citifinancial
                    605 Munn Road
                    Fort Mill, SC 29715



                    Clay Chapman Iwamura Pulice Nervell
                    700 Bishop Street Suite 2100
                    Honolulu, HI 96813



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                    Comenity Bank/pier 1
                    4590 E Broad St
                    Columbus, OH 43213



                    Comenity Bank/vctrssec
                    220 W Schrock Rd
                    Westerville, OH 43081



                    Credit One Bank
                    Po Box 98873
                    Las Vegas, NV 89193



                    Credit One Bank
                    Po Box 98875
                    Las Vegas, NV 89193



                    Dsnb Macys
                    9111 Duke Blvd
                    Mason, OH 45040



                    First Hawaiian Bank
                    Po Box 4070
                    Honolulu, HI 96812



                    First Hawaiian Bank
                    Po Box 3200
                    Honolulu, HI 96847



                    GECRB/Care Credit
                    Attention: Bankruptcy
                    Po Box 103104
                    Roswell, GA 30076



                    GECRB/Care Credit
                    C/o Po Box 965036
                    Orlando, FL 32896




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                    GECRB/JC Penny
                    Attention: Bankruptcy
                    Po Box 103104
                    Roswell, GA 30076



                    GECRB/JC Penny
                    4125 Windward Plaza
                    Alpharetta, GA 30005



                    GECRB/Sams Club
                    Gecrb/Sams Club
                    Po Box 103104
                    Roswell, GA 30076



                    GECRB/Sams Club
                    Po Box 965005
                    Orlando, FL 32896



                    GECRB/ShopNBC
                    Attn: Bankruptcy
                    Po Box 103104
                    Roswell, GA 30076



                    GECRB/ShopNBC
                    Po Box 965005
                    Orlando, FL 32896



                    Hawaiian Tel Fcu
                    1138 N King St
                    Honolulu, HI 96817



                    Hawaiiusa Fcu
                    1226 College Walk
                    Honolulu, HI 96817



                    Hawaiiusa Fcu
                    1225 College Walk
                    Honolulu, HI 96817


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                    Hccredit/feb
                    203 E Emma Ave Ste A
                    Springdale, AR 72764



                    IndyMac Bank/OneWest Bank
                    Attn:Bankruptcy Department
                    2900 Esperanza Crossing
                    Austin, TX 78758



                    IndyMac Bank/OneWest Bank
                    6900 Beatrice Drive
                    Kalamazoo, MI 49003



                    IndyMac Mortgage Services
                    PO Box 4045
                    Kalamazoo, MI 49003-4045



                    Internal Revenue Service Hawaii
                    Attn: Insolvency Mail Stop H1207
                    1099 Alakea Street 12th floor
                    Honolulu, HI 96813-4511



                    Mb Fin Svcs
                    36455 Corporate Dr
                    Farmington Hills, MI 48331



                    Merrick Bk
                    Attn: Bankruptcy
                    P.O. Box 9201
                    Old Bethpage, NY 11804



                    Merrick Bk
                    Po Box 9201
                    Old Bethpage, NY 11804



                    Military Star
                    3911 S Walton Walker Blvd
                    Dallas, TX 75265


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                    Ambrocio, Ruben and Judy -



                    Nationstar Mortgage
                    Attn: Customer Support Center
                    350 Highland Drive
                    Lewisville, TX 75067



                    RCO Hawaii LLC
                    900 Fort Street Mall Suite 800
                    Honolulu, HI 96813



                    Rush More LLP
                    Attn: Susan Tius, Esq.
                    737 Bishop Street Suite 2400
                    Honolulu, HI 96813



                    Sears/cbna
                    Po Box 6282
                    Sioux Falls, SD 57117



                    Visa Dept. Stores
                    Attn: Bankruptcy
                    Po Box 8053
                    Mason, OH 45040



                    Visa Dept. Stores
                    9111 Duke Blvd
                    Mason, OH 45040



                    Watanabe Ing LLP
                    999 Bishop Street 23rd Floor
                    Honolulu, HI 96813




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B 22C (Official Form 22C) (Chapter 13) (04/13)
        Ruben Ulep Ambrocio                                            According to the calculations required by this statement:
 In re  Judy Acoba Ambrocio                                              The applicable commitment period is 3 years.
               Debtor(s)                                                 The applicable commitment period is 5 years.
 Case Number:
                      (If known)                                         Disposable income is determined under § 1325(b)(3).
                                                                         Disposable income is not determined under § 1325(b)(3).
                                                                       (Check the boxes as directed in Lines 17 and 23 of this statement.)


                      CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                     Part I. REPORT OF INCOME
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1       a. Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
             b.     Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
             All figures must reflect average monthly income received from all sources, derived during the six Column A                          Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's                          Spouse's
             six-month total by six, and enter the result on the appropriate line.                              Income                            Income

     2       Gross wages, salary, tips, bonuses, overtime, commissions.                                                $           3,463.22 $          3,335.24
             Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
             profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
             number less than zero. Do not include any part of the business expenses entered on Line b as
     3       a deduction in Part IV.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $                  0.00
              b.     Ordinary and necessary business expenses $                   0.00 $                  0.00
              c.     Business income                              Subtract Line b from Line a                    $                    0.00 $                 0.00
             Rents and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                 Debtor                Spouse
              a.    Gross receipts                               $         3,150.00 $                  0.00
              b.    Ordinary and necessary operating expenses $                 0.00 $                 0.00
              c.    Rent and other real property income          Subtract Line b from Line a                           $           3,150.00 $                0.00
     5       Interest, dividends, and royalties.                                                                       $              0.00 $                 0.00
     6       Pension and retirement income.                                                                            $              0.00 $                 0.00
             Any amounts paid by another person or entity, on a regular basis, for the household
             expenses of the debtor or the debtor's dependents, including child support paid for that
     7       purpose. Do not include alimony or separate maintenance payments or amounts paid by the
             debtor's spouse. Each regular payment should be reported in only one column; if a payment is
             listed in Column A, do not report that payment in Column B.                                               $              0.00 $                 0.00
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                   0.00 Spouse $               0.00 $                0.00 $                 0.00




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             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Total and enter on Line 9. Do not include alimony or separate
             maintenance payments paid by your spouse, but include all other payments of alimony or
             separate maintenance. Do not include any benefits received under the Social Security Act or
     9       payments received as a victim of a war crime, crime against humanity, or as a victim of
             international or domestic terrorism.
                                                                     Debtor                    Spouse
              a.                                             $                        $
              b.                                             $                        $                      $                  0.00 $                0.00
    10       Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
             in Column B. Enter the total(s).                                                               $               6,613.22 $          3,335.24
    11       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
             the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                  9,948.46

                                    Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12       Enter the amount from Line 11                                                                                           $          9,948.46
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
             calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
             enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
             the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
             income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
             on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                               $
              b.                                                               $
              c.                                                               $
             Total and enter on Line 13                                                                                              $                0.00
    14       Subtract Line 13 from Line 12 and enter the result.                                                                     $          9,948.46

    15       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
             enter the result.                                                                                                       $      119,381.52
             Applicable median family income. Enter the median family income for applicable state and household size. (This
    16       information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

              a. Enter debtor's state of residence:                  HI   b. Enter debtor's household size:             4            $        84,762.00
             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                   The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at the
    17             top of page 1 of this statement and continue with this statement.
                   The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years"
                   at the top of page 1 of this statement and continue with this statement.
                                Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18       Enter the amount from Line 11.                                                                                          $          9,948.46
             Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
             any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
             debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
             payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
             dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19       separate page. If the conditions for entering this adjustment do not apply, enter zero.
              a.                                                               $
              b.                                                               $
              c.                                                               $
             Total and enter on Line 19.                                                                                             $                0.00
    20       Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                            $          9,948.46




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    21       Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
             enter the result.                                                                                                        $      119,381.52
    22       Applicable median family income. Enter the amount from Line 16.                                                          $        84,762.00
             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                   The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23             1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                   The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under §
                   1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                    Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                   Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
             Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living Expenses for the
   24A       applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
             bankruptcy court.) The applicable number of persons is the number that would currently be allowed as exemptions
             on your federal income tax return, plus the number of any additional dependents whom you support.                        $          1,482.00
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
             who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
             older. (The applicable number of persons in each age category is the number in that category that would currently
             be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
             you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
   24B       Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
             c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 24B.
              Persons under 65 years of age                                 Persons 65 years of age or older
              a1.      Allowance per person                             60 a2.    Allowance per person                      144
              b1.      Number of persons                                  4 b2.   Number of persons                               0
              c1.      Subtotal                                      240.00 c2.   Subtotal                                  0.00 $                 240.00
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
             Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   25A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support.                                                                              $            762.00
             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   25B       debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in Line 25B. Do
             not enter an amount less than zero.
              a.      IRS Housing and Utilities Standards; mortgage/rent expense         $                              2,353.00
              b.      Average Monthly Payment for any debts secured by your
                      home, if any, as stated in Line 47                                 $                              5,262.47
              c.      Net mortgage/rental expense                                        Subtract Line b from Line a.                 $                0.00
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
             25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                      $                0.00




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             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
             expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
             regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
   27A       included as a contribution to your household expenses in Line 7. 0        1      2 or more.
             If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $            472.00
             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   27B       your public transportation expenses, enter on Line 27B the "Public Transportation" amount from the IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $                 0.00
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)   1     2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    28       Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 28. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                 $                                    517.00
                      Average Monthly Payment for any debts secured by Vehicle
              b.      1, as stated in Line 47                                       $                                      46.17
              c.      Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a.                     $            470.83
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 28.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    29       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter
             the result in Line 29. Do not enter an amount less than zero.
              a.      IRS Transportation Standards, Ownership Costs                 $                                       0.00
                      Average Monthly Payment for any debts secured by Vehicle
              b.      2, as stated in Line 47                                       $                                       0.00
              c.      Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a.                     $                0.00
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    30       state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $          1,315.40
             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
    31       deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
             uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                            $                0.00
             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    32       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
             any other form of insurance.                                                                                            $                0.00
             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    33       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
             include payments on past due obligations included in line 49.                                                           $                0.00
             Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    34       the total average monthly amount that you actually expend for education that is a condition of employment and for
             education that is required for a physically or mentally challenged dependent child for whom no public education
             providing similar services is available.                                                                          $                      0.00

    35       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
             childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.           $                0.00




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             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
    36       health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
             insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do not
             include payments for health insurance or health savings accounts listed in Line 39.                                       $                0.00
             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    37       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
             pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
             welfare or that of your dependents. Do not include any amount previously deducted.                                        $            300.00
    38       Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                       $          5,042.23

                                              Subpart B: Additional Living Expense Deductions
                                     Note: Do not include any expenses that you have listed in Lines 24-37
             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
             the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
             dependents.
    39        a.         Health Insurance                                 $                               0.00
              b.         Disability Insurance                             $                               0.00
              c.         Health Savings Account                           $                               0.00
             Total and enter on Line 39                                                                                                $                0.00

             If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
             below:
             $
             Continued contributions to the care of household or family members. Enter the total average actual monthly
    40       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
             ill, or disabled member of your household or member of your immediate family who is unable to pay for such
             expenses. Do not include payments listed in Line 34.                                                                      $                0.00
             Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    41       actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or other
             applicable federal law. The nature of these expenses is required to be kept confidential by the court.              $                      0.00
             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    42       Standards for Housing and Utilities that you actually expend for home energy costs. You must provide your case
             trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
             claimed is reasonable and necessary.                                                                                      $                0.00
             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
             actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
    43       school by your dependent children less than 18 years of age. You must provide your case trustee with
             documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
             necessary and not already accounted for in the IRS Standards.                                                             $                0.00
             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    44       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                                 $              52.00
             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
    45       contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
             170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                                   $                0.00
    46       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                               $              52.00




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                                                           Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of creditor, identify the property securing the debt, state the Average Monthly Payment, and
    47       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
             scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
             case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
             Payments on Line 47.
                    Name of Creditor                Property Securing the Debt                    Average          Does payment
                                                                                                  Monthly          include taxes
                                                                                                  Payment          or insurance
                                                    personal residence located at
                                                    1143 Pinkham St, Honolulu, HI
                                                    96819
                                                    Zillow valuation: $846,000
                                                    -8% cost of sale: $67,680
               a. American Savings Bank FMV: $778,320                                         $        1,100.00       yes no
                                                            personal residence located at
                                                            1143 Pinkham St, Honolulu, HI
                                                            96819
                                                            Zillow valuation: $846,000
                   IndyMac Bank/OneWest                     -8% cost of sale: $67,680
                b. Bank                                     FMV: $778,320                    $         4,162.47     yes     no
                                                            2007 Mercedes C-230 (60,000
                c. Mb Fin Svcs                              miles)                           $             46.17    yes     no
                                                                                                 Total: Add Lines                    $          5,308.64
             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 47, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                                                       personal residence located at
                                                       1143 Pinkham St, Honolulu, HI
                                                       96819
                                                       Zillow valuation: $846,000
                                                       -8% cost of sale: $67,680
               a. American Savings Bank                FMV: $778,320                           $                         333.33
                                                       personal residence located at
                                                       1143 Pinkham St, Honolulu, HI
                                                       96819
                                                       Zillow valuation: $846,000
                    IndyMac Bank/OneWest               -8% cost of sale: $67,680
               b. Bank                                 FMV: $778,320                           $                       2,842.67
                                                                                                               Total: Add Lines      $          3,176.00
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    49       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 33.                                                      $              62.77
             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
             resulting administrative expense.

              a.       Projected average monthly Chapter 13 plan payment.                    $                            3,000.00
    50        b.       Current multiplier for your district as determined under schedules
                       issued by the Executive Office for United States Trustees. (This
                       information is available at www.usdoj.gov/ust/ or from the clerk of
                       the bankruptcy court.)                                                x                             5.10
              c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $            153.00
    51       Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                              $          8,700.41



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                                                          Subpart D: Total Deductions from Income
    52       Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                                   $         13,794.64

                            Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53       Total current monthly income. Enter the amount from Line 20.                                                                    $           9,948.46
             Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54       payments for a dependent child, reported in Part I, that you received in accordance with applicable nonbankruptcy
             law, to the extent reasonably necessary to be expended for such child.                                                          $                 0.00
             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
    55       wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of
             loans from retirement plans, as specified in § 362(b)(19).                                                            $                           0.00
    56       Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                               $         13,794.64
             Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
             there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c below.
             If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57. You must
             provide your case trustee with documentation of these expenses and you must provide a detailed explanation
             of the special circumstances that make such expense necessary and reasonable.
    57                Nature of special circumstances                                                 Amount of Expense
              a.                                                                                      $
              b.                                                                                      $
              c.                                                                                      $
                                                                                                      Total: Add Lines                       $                 0.00

    58       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter the
             result.                                                                                                                         $         13,794.64
    59       Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                               $          -3,846.18

                                                        Part VI. ADDITIONAL EXPENSE CLAIMS
             Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
             of you and your family and that you contend should be an additional deduction from your current monthly income under §
             707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
             each item. Total the expenses.

    60                Expense Description                                                                                 Monthly Amount
              a.                                                                                           $
              b.                                                                                           $
              c.                                                                                           $
              d.                                                                                           $
                                                                     Total: Add Lines a, b, c and d        $
                                                                       Part VII. VERIFICATION
             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
             must sign.)
                           Date: September 16, 2014                                      Signature: /s/ Ruben Ulep Ambrocio
                                                                                                      Ruben Ulep Ambrocio
    61                                                                                                           (Debtor)

                               Date:      September 16, 2014                                   Signature       /s/ Judy Acoba Ambrocio
                                                                                                                Judy Acoba Ambrocio
                                                                                                                         (Joint Debtor, if any)




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